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                                                                             State Board of Examiners for
                                                                           Engineering & Land Surveying
                                                                         670 Hawthorne Ave. SE, Suite 220
                                                                                    Salem, Oregon 97301
                                                                                            503.362.2666
March 30, 2015
                                                                                        Fax 503.362.5454
                                                                                     osbeels®osbeels.org
                                                                                www .oregon.gov/osbeels
MATS JARLSTROM
13520 SW HART RD.
BEAVERTON, OR 97008

RE:      File No. 2929       MATS JARLSTROM

Dear MATS JARLSTROM:

The Oregon State Board of Examiners for Engineering and Land Surveying (OSBEELS) has opened an
investigation regarding whether you engaged in the unlicensed practice of engineering per Oregon
Revised Statutes (ORS) 672.007(1).

You may recall that on September 3, 2014, you contacted OSBEELS to solicit support and an
investigation into "two transportation engineers [who] are misreading Oregon Vehicle code." The
allegations were related to ORS 811.260(4) and you wanted to present facts for the Board's review and
comment. When I replied on September 5, 2014, I noted that the Board does not have authority over ORS
811 , requested that you complete a complaint form and submit evidence to initiate the complaint process,
and provided a reprint of ORS 672.007(1 ). I informed you at the time that use of the title "engineer''
without registration is prohlbited in Oregon. I asked you to stop any further use of the title until you
became registered. You agreed.

However, the allegations are that you then continued to use the title "engineer·· in your communications
with Board staff and, of more concern, are the documents you provided that indicate you may have
engaged in unlicensed engineering work in Oregon. As a result of your emails, the Board's Law
Enforcement Committee directed on February 12, 2015, that an investigation be opened against you,
separate and distinct from any investigation or potential enforcement action that may be taken against the
transportation engineers who were the subjects of your initial inquiry.

Please note that the Board reviews all allegations to determine whether grounds exist to warrant action.
Your written response to the allegation is important: it allows you an early opportunity to provide the
Board with information from your perspective and it assists the Board in making a decision about whether
to pursue an enforcement action. Copies of the most relevant documents are enclosed for your review.

Oregon Administrative Rule (OAR) 820-015-0010(3) states that the Board must receive written
comments withln two weeks of the mailing of this letter to consider them. Failure to respond within that
time could result in the evaluation ofthls complaint using only the evidence now available. Therefore,
for consideration, your response must be returned no later than April 13, 2015. Please attach any
documents you believe are relevant in explaining your position. Thank you for your timely response.

Sincerely,




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Enclosure: copies of selected cmai Is
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